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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT United States Courts

for the Southern District of Texas

Southern District of Texas [-| FILED
September 06, 2022

Uaest States at mamerion Nathan Ochsner, Clerk of Court
TIFFANI SHEA GISH, Cese'No.
) .
) 4:22-mj-2082
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of September 1, 2022 in the county of / Harris in the
Southern Districtof =—- Texas , the defendant(s) violated:
Code Section Offense Description
Title 18 U.S.C. § 115(a)(1)(B) Influencing Federal Official by Threat
Title 18 U.S.C. § 875(c) Interstate Communications with a Threat to Kidnap or Injure

This criminal complaint is based on these facts:
See attached affidavit.

™ Continued on the attached sheet. / 1. / , Py :
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a7 t F : Complainant's signature

Special Agent Amy Avila, FBI
Printed name and title

Sworn to before me by telephone

Date: September 06, 2022 - he Z.

Judge ’s signature

Houston, Texas / / Hon. Peter Bray, U.S.

Printed name and title

City and state:
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FFIDAVIT IN SUPPOR NAL MPLAINT

I, Amy Avila, being first duly sworn, hereby depose and state the following:

I. [am a Special Agent (SA) with the Federal Bureau of Investigation (FBI), currently
assigned to the Joint Terrorism Task Force in the Southern District of Texas. Your Affiant is an
investigative or law enforcement officer of the United States within the meaning of Section
2510(7) of Title 18, United States Code. I have been trained by the FBI in the preparation,
presentation, and service of criminal complaints and arrest and search warrants and have been
involved in the investigation of numerous types of offenses against the United States.

2 Your Affiant is submitting this affidavit for the limited purpose of establishing
probable cause, that on or about September 1, 2022, defendant Tiffani Shea Gish, a/k/a “Evelyn
Salt” violated Title 18, United States Code, Sections 115(a)(1)(B) (influencing federal official by
threat) and 875(c) (interstate communications with a threat to kidnap or injure).

3, Your Affiant is familiar with the facts and circumstances set forth in this affidavit
as a result of my participation in the investigation, and my experience, training, and background
as a Special Agent with the FBI. The information contained within this affidavit is based upon my
personal knowledge, as well as information and documentation that Your Affiant obtained from
other law enforcement officers who have first-hand knowledge of the events described herein. This
affidavit does not contain all information gathered during this investigation but is being submitted
for the limited purpose of establishing probable cause that the individual below has engaged in

criminal activity.

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PROBABLE CAUSE

The Threatening Voicemails

4. On or about September 3, 2022, the Honorable Aileen Cannon, United States
District Court Judge for the Southern District of Florida, forwarded three voicemails (the
“Voicemails”) left on her chamber’s telephone to Supervisory Deputy United States Marshal
Michael Witkowski. The calls appear to have been left on or about September 1, 2022. The phone
number displayed on the caller identification was a cellphone number ending in 6374 with a
Houston, Texas area code (the “6374 Cellphone”).! Excerpts from the Voicemails are copied
directly below.

Voicemail on September 1, 2022. at 1:45 PM EST

“Hi, yes this message is for Aileen Cannon, this is Evelyn Salt, I’m in charge of
nuclear for the United States Government. Again, Donald Trump has been
disqualified jones ago, and he’s marked for assassination, you’re helping him
ma’am. So, here’s what we’re going to do, we’re going to let you disarm fucking
live nukes off your coffee table . . . . how about you sit on an electric chair a couple
times over .. . you think you’ve got the magical ability to pop up from the dead . .
. pretending that you’re on the team of justice. Again, I told you he's [Donald
Trump] disqualified, he’s marked for assassination and so are you, you stupid bitch,
stand the fuck down or get shot . . . and guess what, I’m also Trump’s hitman, so

consider it a bullet to your head from Donald Trump himself... .”

: The full cellphone number for the 6374 Cellphone is known to Your Affiant.

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Voicemail on September 1. 2022, at 4:55 PM EST

“Yes, Judge Cannon . . . listen, my name is Evelyn Salt, I’ve been trying to get in
touch with you. I’m in charge of nuclear, and your fucking bullshit in your little
court means absolute dick. My authority exceeds the POTUS, and what you’re
trying to pull is obstruction of justice, as this motherfucker is responsible for 9/11 .
... Again, you’re full of shit, and I’m going to fucking have you shot myself. I’ve
already ordered snipers and a bomb to your fucking house... .”

Voicemail on September 1, 2022. at 5:17 PM EST”

“Lady, my patience is up, I’m a federal fucking agent, I’ve been slaughtered to hell
and back for three fucking decades after Donald sold my nuclear fucking arsenal
and decided to slam it into the World Trade Center. You fuck up one fucking thing
for me, after going through hell on earth, including be stuck on [unintelligible], I’m
going to grab my license to kill, I’m going to take my ass to fucking Florida, and
I’m going to personally throw a bullet to your fucking head in front of your kids. .
. or whatever the fuck you’ve got that’s important to you, do you understand my
authority .. . you stand the fuck down... .”
Identification of Tiffani Shea Gish as “Evelyn Salt”

5. A law enforcement database revealed that the 6374 Cellphone was an AT&T

cellphone number associated to Tiffani Shea Gish. A search of Tiffani Shea Gish of open-source

data showed a Facebook page associated to that name. Specifically, the Facebook page of “Tiffani

S Gish” (the “Gish Facebook Account”) contained recent posts that mirror the language in the

2 Although the caller did not identify herself as “Evelyn Salt” on the voicemail left on
September 1, 2022 at 5:17 PM EST, the caller is clearly the same person based on my review of
the Voicemails.

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Voicemails to include identifying herself as “Evelyn Salt,” references to being a nuclear expert,
and former President Trump taking her nukes and using them during 9/11.

6. The United States Marshals Service also contacted the United States Secret Service.
The United States Secret Service also confirmed that “Evelyn Salt” was Tiffani Shea Gish based
on the use of the 6374 Cellphone. The United States Secret Service was also aware of comments
and threats that Tiffani Shea Gish had previously made directed toward former President Trump.

7. On or about September 4, 2022, the United States Marshals Service requested an
emergency disclosure request from AT&T for cellphone location information for the 6374
Cellphone. Based on my review of data provided by AT&T, I know that the 6374 Cellphone was
located within the Southern District of Texas on September 1, 2022.

8. Based on the content of the Voicemails, and the positive identification of Tiffani
Shea Gish as “Evelyn Salt,” agents from the United States Marshals Service (the “Agents”) went
to Gish’s residence on September 4, 2022 (the “Residence”) to interview Gish. Gish initially
refused to allow the Agents in the Residence, agreed to speak with the Agents through a window
on the balcony of the Residence before eventually inviting the Agents inside the Residence. Based
on my conversations with the Agents, I know that Gish spoke with the Agents for approximately
45 minutes.

a: During that interview, Gish stated, in substance and in part, that: (1) she left the
Voicemails; (2) that the 6374 Cellphone belonged to her; (3) that no one else besides her has access
to the 6374 Cellphone; (4) that the Gish Facebook Account was used by her; and (5) that no one
else had access to the Gish Facebook Account. Following this interview, the Agents received

authorization to make a probable cause arrest of Gish.

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10. Based on the foregoing, I respectfully submit that there is probable cause to believe
that on or about September 1, 2022, in the Southern District of Texas, and possibly elsewhere,
Tiffani Shea Gish made threats to influence a federal official, in violation of Title 18, United
States Code. Section 115(a)(1)(B), and transmitted in interstate or foreign commerce

communications containing threats to injure the person of another, in violation of Title 18, United

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Amy Avila, Spécial Agent
Federal Bureau of Investigation

States Code, Section 875(c).

Subscribed and telephonically sworn before me on September 6, 2022. I find probable cause.

be. bray

UNITED STATES ae JUDGE
PETER BRAY |

